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March 20", 2023

Shaya Tousi
3 Rue Louis Marchal
Belfort, 90000, France
Honorable Colleen Kollar-Kotelly
United States District Judge
United States Courthouse
300 Constitution Avenue, N.W.
Washington, D.C. 20001
Dear Honorable Judge Kollar-Kotelly,

I hope this letter finds you well. My name is Shaya Tousi, I am a current English teacher
through the French Embassy and France Education International’s Teaching Assistant Program in
France. I am writing to you on behalf of Thomas Carey, who I consider to be one of my closest and
oldest friends.

Thomas and I met in Fall 2012 after entering Cold Spring Harbor Jr/Sr. High School in the
same class year. I was 12 years old, and he was 11. As we’ve grown from pre-teens to young adults, we
have seen each other through huge changes, successes, and challenges, and I consider myself lucky to
have watched Thomas grow into the kind and hardworking person he is today. Though it’s difficult to
concisely present a relationship that’s spanned half of our lives, there are a few situations that I believe
can speak for the rest of the decade that Thomas and I have known each other.

~~~ We were both members of‘our high sctiool’s‘EIRST Robotics team; which-meant-that we-spent
several hundreds of hours together with our club each year. Every member had the utmost confidence
in his abilities, but more importantly, our mentors trusted him to guide his peers effectively and
carefully, and the team trusted his intuition and advice. He was well-liked by our underclassmen, who
he always treated as equals. That dynamic (and his humor) made him a truly beloved Teaching
Assistant for various Computer Science classes throughout high school.

During these years, there were instances where unsafe situations in my home made it necessary
for me to take shelter elsewhere. Thomas ensured that I was always welcome at his house. On one
particularly severe occasion, my mother dropped both my brother and I off at Thomas’s house because
I had insisted that it was a safe place for us to go. I would not have exposed such a vulnerable aspect of
my home life to anyone that I didn’t believe would receive it with tact, and Thomas’s protectiveness is
a trait that I value immensely in him. In those moments, and countless other times over the years,
Thomas would make us huge portions of popcorn in his family’s movie theater-style popcorn machine
before we settled in to watch and discuss movies.

After both going to college, we fell out of regular touch for about two years between 2020 and
2022. However, after we reconnected, I found that we had both grown up in ways that made our
relationship stronger and more meaningful to me. I came out to Thomas as transgender in May of 2022,
and he has since made every effort to respect and understand that aspect of my identity. Each time I
choose to request or express something to him about myself, it’s an expression of trust in his care. He
has not betrayed that trust.
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Though I could continue, it will suffice to say, in summary, that Thomas is a pillar of support in
my life. He has been by my side through moments as large as my parents’ divorce, undergraduate and
master’s degree applications, and decisions about medical transition. He is equally present in the small
moments of everyday companionship: going hiking together, discussing shows we’ve watched together,
or simply making time to call with me across our 6-hour time difference. I can turn to him with any
anxiety (founded or not), and know it will be treated with consideration born of everything he has
carefully learned about me as we’ve grown up together. There are very few people in my life who I
trust as completely as Thomas, and I am grateful to know him.

Thank you for your time,
Shaya Tousi

 
